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                                                           PAINWEEK
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Disclaimer

This presentation is a draft for discussion purposes only. It may include
information with respect to actual or potential prescriptions for uses of our
products that are not presently approved by the FDA and thus not promoted
by Teva. Off-label promotion is against company policy. Sales and marketing
promotional activity is strictly limited to the indications currently listed in the
products’ respective package inserts. Information about non-promoted
prescriptions is to be used only for legitimate business planning purposes
(e.g., discussions of ongoing or potential clinical development plans,
considerations of promotional strategies if and when new indications are
approved, production planning, and for budgeting and forecasting
revenues). All revenue assumptions or projections assume strict compliance
with Teva’s policy prohibiting any promotion of off-label uses of our products.
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PAINWeek Marketing Activities

 Corporate Sponsorship
 Pain Matters Screening and
  Panel Discussion
 Abuse Deterrence Technology
  Educational Product Theater
 FENTORA / AMRIX Booth
 FENTORA Product Theater
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Potential Media and Advocacy Outreach
 PAINWeek presents an opportunity to coordinate one-on-one
  briefings with media and medical directors from advocacy
  organizations.
 Explore the possibility of utilizing the AD pillars / platform in
  development to brief media and advocacy partners and open a
  dialogue.
 Work with Advocacy to ensure alignment and overall
  coordination.
Materials Development                               Success Metrics
• Slide presentation to guide                       • Conduct 3-5 briefings with
  briefings                                           advocacy medical directors
• Media pitch email                                 • Secure 3-5 interviews
• Spokesperson bios                                    • 80% message pull through
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